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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               V-
                                                           Criminal No.

 PETER K. NAVARRO,
                                                           FILED UNDER SEAL
                       Defendant.



                                                     w
        This matter having come before the Court pursuant to the application of the United States

to seal the Indictment and related lings,       the Court nds   that, because of such reasonable grounds

to believe the disclosure    will result in   ight   from prosecution, destruction   of or tampering with

evidence, and serious jeopardy to the execution of the arrest warrant, the United States has

established that a compelling governmean interest exists to justify the requested sealing and delay

of entry on the public docket.

        l.          IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the Indictment, the instant Motion, this Order, other pleadings, warrants, les,        and records in this

case be sealed and that entry on the public docket of the criminal case be delayed until the arrest

warrant is executed, except as necessary to facilitate the arrest of the defendant.

        2.          IT IS FURTHER ORDERED              that the Government is authorized to apprise

individuals of the Indictment and arrest warrant as necessary to execute the Govemment’s arrest

operation.

        3.          IT IS FURTHER ORDERED that the Indictment is automatically unsealed, without

further order, upon execution of the arrest warrant.
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                                                           Zia M. Faruqui
                                                           2022.06.02
Dated: June 2, 2022
                                                           16:34:44 -04'00'
                                         UNITED STATES MAGISTRATE JUDGE
